Case 2:19-cv-05226-MCS-KS Document 43-2 Filed 06/01/21 Page 1 of 3 Page ID #:569



        1    REGINA A. PETTY, SBN 106163
             rpetty@fisherphillips.com
        2    SHAUN J. VOIGT, SBN 265721
             svoigt@fisherphillips.com
        3    SEAN F. DALEY, SBN 272493
             sdaley@fisherphillips.com
        4    FISHER & PHILLIPS LLP
             444 South Flower Street, Suite 1500
        5    Los Angeles, California 90071
             Telephone: (213) 330-4500
        6    Facsimile: (213) 330-4501
        7    Attorneys for Defendant
             FEDEX GROUND PACKAGE SYSTEM, INC.
        8

        9                              UNITED STATES DISTRICT COURT
      10              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
      11

      12     DOMINIQUE WASHINGTON,                         Case No: 2:19-cv-05226-MCS-KS
      13                             Plaintiff,
                                                           [PROPOSED] ORDER GRANTING
      14             v.                                    DEFENDANT FEDEX GROUND
                                                           PACKAGE SYSTEM, INC.’S
      15     FEDEX GROUND PACKAGE                          MOTION IN LIMINE NO. 2 TO
             SYSTEM, INC., a Delaware                      EXCLUDE TESTIMONY
      16     corporation; and DOES through 20,             REGARDING THE RELIGIOUS
             inclusive,,                                   BELIEFS OF THIRD PARTY
      17                                                   WITNESSES
                                     Defendant.
      18                                                   Final Pretrial Conference
      19                                                   Date:          June 21, 2021
                                                           Time:          2:00 p.m.
      20                                                   Location:      United States Courthouse
                                                                          350 W. First Street
      21                                                                  Courtroom 7C, 7th Floor
                                                                          Los Angeles, CA 90012
      22

      23                                                   Complaint Filed: May 14, 2019
                                                           Trial Date:      July 13, 2021
      24

      25

      26

      27

      28

                                                          1
                             [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION IN LIMINE NO. 2
19674.0261   FP 40665143.1
Case 2:19-cv-05226-MCS-KS Document 43-2 Filed 06/01/21 Page 2 of 3 Page ID #:570



        1            Defendant FedEx Ground Package System, Inc.’s (“Defendant” or “FedEx
        2    Ground”) Motion in Limine No. 2 to Exclude Testimony Regarding the Religious
        3    Beliefs of Third Party Witnesses (“Motion”), came on for hearing on June 21, 2021.
        4            The Court, having reviewed and fully considered the Motion and the parties’
        5    papers, arguments and other matters raised before and during the hearing, hereby
        6    ORDERS that:
        7            FedEx Ground’s Motion is GRANTED.
        8             1.      Plaintiff, her counsel and any witnesses called or examined at trial
        9    shall be precluded from eliciting or providing testimony regarding the religious
      10     beliefs, including views on abortion and a woman’s right to choose, of third party
      11     witnesses.
      12             IT IS SO ORDERED.
      13

      14
             Dated: __________________                  _____________________________
      15
                                                             Hon. Mark C. Scarsi
      16

      17

      18

      19

      20
      21

      22

      23

      24

      25

      26

      27

      28

                                                          2
                             [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION IN LIMINE NO. 2
19674.0261   FP 40665143.1
Case 2:19-cv-05226-MCS-KS Document 43-2 Filed 06/01/21 Page 3 of 3 Page ID #:571



        1                                   PROOF OF SERVICE
                                          (CCP § 1013(a) and 2015.5)
        2
                    I, the undersigned, am employed in the County of Los Angeles, State of
        3    California. I am over the age of 18 and not a party to the within action; am
             employed with Fisher & Phillips LLP and my business address is 444 South Flower
        4    Street, Suite 1500, Los Angeles, California 90071.
        5          On June 1, 2021, I served the foregoing document entitled [PROPOSED]
             ORDER GRANTING DEFENDANT FEDEX GROUND PACKAGE
        6    SYSTEM, INC.’S MOTION IN LIMINE NO. 2 TO EXCLUDE TESTIMONY
             REGARDING THE RELIGIOUS BELIEFS OF THIRD PARTY
        7    WITNESSES on all the appearing and/or interested parties in this action by
             placing     the original    a true copy thereof enclosed in sealed envelope(s)
        8    addressed as follows:
        9
              Kaveh S. Elihu, Esq.                         Attorney for Plaintiff
      10      EMPLOYEE JUSTICE LEGAL GROUP                 DOMINIQUE WASHINGTON
              3055 Wilshire Boulevard, Suite 1120
      11      Los Angeles, CA 90010                        Tel: 213.382.2222
                                                           Fax: 213.382.2230
      12                                                   E-mail: kelihu@ejlglaw.com;
                                                           dfriedman@ejlglaw.com;
      13                                                   hortiz@ejlglaw.com

      14
                    [by ELECTRONIC SERVICE] - Based on a court order or an agreement
      15             of the parties to accept service by electronic transmission, I caused the
                     documents to be sent to the persons at the electronic notification address
      16             listed above.
      17            [by PERSONAL SERVICE] - I caused to be delivered by messenger such
                     envelope(s) by hand to the office of the addressee(s). Such messenger is
      18             over the age of eighteen years and not a party to the within action and
                     employed with Express Network, whose business address is 1605 W.
      19             Olympic Boulevard, Suite 800, Los Angeles, CA 90015.
      20            I declare under penalty of perjury under the laws of the State of California
             that the foregoing is true and correct.
      21

      22             Executed June 1, 2021, at Los Angeles, California.
      23       Mayra Hernandez                      By: /s/Mayra Hernandez
                             Print Name                                   Signature
      24

      25

      26

      27

      28

                                                      3
                                               PROOF OF SERVICE
19674.0261   FP 40665143.1
